      Appellate Case: 24-6155      Document: 49      Date Filed: 06/09/2025       Page: 1
                                                                                      FILED
                                                                          United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                             Tenth Circuit

                             FOR THE TENTH CIRCUIT                                  June 9, 2025
                         _________________________________
                                                                                Christopher M. Wolpert
                                                                                    Clerk of Court
 HEATHER SMITH, individually and on
 behalf of all others similarly situated,

        Plaintiff - Appellee,

 v.                                                            No. 24-6155
                                                        (D.C. No. 5:23-CV-00559-D)
 WHALECO INC., d/b/a TEMU,                                     (W.D. Okla.)

        Defendant - Appellant.
                       _________________________________

                                      ORDER
                         _________________________________

Before TYMKOVICH, BACHARACH, and PHILLIPS, Circuit Judges.
                 _________________________________

        This matter is before the court on the parties’ Stipulated Motion to Voluntarily

Dismiss Appeal. As an initial matter, the abatement of this appeal is lifted.

        The stipulation filed by the parties to dismiss the captioned appeal is granted. See

Fed. R. App. P. 42(b). Each party shall bear its own costs.

        A copy of this order shall stand as and for the mandate of this court.


                                               Entered for the Court



                                               CHRISTOPHER M. WOLPERT, Clerk
